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                 EXHIBIT 5
Case 6:23-cv-00871-CEM-DCI Document 186-5 Filed 09/06/24 Page 2 of 5 PageID 3645


   From:           Dustin Mauser-Claassen
   To:             Alex Andrade
   Cc:             Fritz Scheller; Di Filippo, Lisa; Perkins, Jason; Bryan, Martina; Charles Beall; Erick Mead; Harmony Malone; Amy
                   Renehan; Fritz Wermuth; Quinn Ritter; Melissa Hill; wpeters@wickersmith.com; Rparadela@wickersmith.com;
                   apeppis@wickersmith.com; bhattenbach@wickersmith.com; Farinha, Caroline; mfurbush@deanmead.com;
                   abarkett@deanmead.com; mkirn@deanmead.com; Kaitlyn Chomin; smarshall@deanmead.com;
                   acandelario@deanmead.com; DeVito, Anthony (Tony); orlecf@cfdom.net
   Subject:        Re: Designation of Transcript Excerpts of Deposition of Rebekah Dorworth as CONFIDENTIAL
   Date:           Saturday, August 3, 2024 11:30:19 AM



  Thanks Alex. We are fine with August 9 as your deadline to de-designate or move the court to
  maintain the designations for the transcripts of AB, Mr. Fischer, and Ms. M   . We will review your
  new page/line designations for Ms. Dorworth on Monday.

  Dustin Mauser-Claassen | Shareholder
  dmauser@kbzwlaw.com
  KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
  25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
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  From: Alex Andrade <aandrade@mhw-law.com>
  Sent: Friday, August 2, 2024 3:33 PM
  To: Dustin Mauser-Claassen <dmauser@kbzwlaw.com>
  Cc: Fritz Scheller <fscheller@flusalaw.com>; Di Filippo, Lisa <LDiFilippo@carltonfields.com>;
  Perkins, Jason <jperkins@carltonfields.com>; Bryan, Martina <MBryan@carltonfields.com>;
  Charles Beall <cbeall@mhw-law.com>; Erick Mead <emead@mhw-law.com>; Harmony
  Malone <hmalone@mhw-law.com>; Amy Renehan <arenehan@flusalaw.com>; Fritz
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  <abarkett@deanmead.com>; mkirn@deanmead.com <mkirn@deanmead.com>; Kaitlyn
  Chomin <kchomin@deanmead.com>; smarshall@deanmead.com
  <smarshall@deanmead.com>; acandelario@deanmead.com <acandelario@deanmead.com>;
  DeVito, Anthony (Tony) <TDeVito@carltonfields.com>; orlecf@cfdom.net
  <orlecf@cfdom.net>
  Subject: Re: Designation of Transcript Excerpts of Deposition of Rebekah Dorworth as
  CONFIDENTIAL

  Understood,

  My reading of the agreement is that the PARTY wishing to challenge the designation had to
  challenge and we had 10 days to respond to that challenge.
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  If the date you challenged the designation was July 31, I calculate our required time to file a
  motion to be August 9.

  I’m trying to resolve that issue without motion practice by Monday.

  Alex Andrade


        On Aug 2, 2024, at 2:11 PM, Dustin Mauser-Claassen <dmauser@kbzwlaw.com>
        wrote:


        ﻿
        Alex,

        Thanks for providing this. We will look forward to seeing your revised
        designations.

        As a heads up, we will likely be referring to certain excerpts of Ms. Dorworth's
        testimony during next week's hearing—some of which is cited in the supplement
        we provided you​. I don't expect a crowd at the hearing, but just wanted to provide
        you a heads up in case your client feels the need to seal the courtroom or seek
        other relief.

        Regarding AB's designations, as explained in our July 31 letter, our position is that
        any challenge to designations made by AB is not extinguished by her dismissal
        from the case. In any event, for avoidance of doubt, we joined AB's challenges to
        each designation in the July 31 letter.​

        Best,
        Dustin

        Dustin Mauser-Claassen | Shareholder
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        From: Alex Andrade <aandrade@mhw-law.com>
        Sent: Friday, August 2, 2024 2:31 PM
        To: 'Fritz Scheller' <fscheller@flusalaw.com>; Di Filippo, Lisa
        <LDiFilippo@carltonfields.com>; Perkins, Jason <jperkins@carltonfields.com>; Bryan,
        Martina <MBryan@carltonfields.com>; Charles Beall <cbeall@mhw-law.com>; Erick
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       Mead <emead@mhw-law.com>; Harmony Malone <hmalone@mhw-law.com>; Amy
       Renehan <arenehan@flusalaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>;
       Dustin Mauser-Claassen <dmauser@kbzwlaw.com>; Quinn Ritter
       <qritter@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>;
       wpeters@wickersmith.com <WPeters@wickersmith.com>;
       'Rparadela@wickersmith.com' <Rparadela@wickersmith.com>;
       'apeppis@wickersmith.com' <apeppis@wickersmith.com>;
       'bhattenbach@wickersmith.com' <bhattenbach@wickersmith.com>; 'Farinha, Caroline'
       <CFarinha@wickersmith.com>; 'mfurbush@deanmead.com'
       <mfurbush@deanmead.com>; 'abarkett@deanmead.com'
       <abarkett@deanmead.com>; 'mkirn@deanmead.com' <mkirn@deanmead.com>;
       'Kaitlyn Chomin' <kchomin@deanmead.com>; 'smarshall@deanmead.com'
       <smarshall@deanmead.com>; 'acandelario@deanmead.com'
       <acandelario@deanmead.com>
       Cc: DeVito, Anthony (Tony) <TDeVito@carltonfields.com>; 'orlecf@cfdom.net'
       <orlecf@cfdom.net>
       Subject: Designation of Transcript Excerpts of Deposition of Rebekah Dorworth as
       CONFIDENTIAL

       Counsel,

       My understanding is that the only party who challenged the designation of Rebekah
       Dorworth’s transcript as confidential was counsel for A.B., who is now dismissed from
       this case. We intend to de-designate the transcript as confidential on Monday and
       provide a list of statements within the transcript we will continue to designate as
       confidential.

       Generally, the basis for the designation will be references to my client’s
                    , and any other sensitive matter related to his family, as specifically
       identified.

       Those sections can generally be understood as the pages or specific line references to
       the following key words within the transcript:




       We will provide a list and redacted version of the transcript by Monday.
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